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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

 PERRY DAVIS,

               Plaintiff,

 v.                                                     Case No.: _______________

 JEFFERSON CAPITAL SYSTEMS, LLC,

               Defendant.
                                              /

                                 NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, defendant, Jefferson Capital

 Systems, LLC, (incorrectly named in the complaint as “Jefferson Capital, LLC”) (“JCAP”),

 through undersigned counsel, hereby removes the above-captioned civil action from the

 County Court of the Seventeenth Judicial Circuit, in and for Broward County, Florida, to

 the United States District Court for the Southern District of Florida, Fort Lauderdale

 Division. The removal of this civil case is proper because:

        1.     JCAP is the named defendant in this civil action filed by plaintiff, Perry

 Davis (“plaintiff”), in the County Court of the Seventeenth Judicial Circuit, in and for

 Broward County, Florida, titled Perry Davis v. Jefferson Capital, LLC, Case No.: COCE-

 21-038012 (hereinafter the “State Court Action”).

        2.     JCAP removes this case on the basis of the Fair Debt Collection Practices

 Act (“FDCPA”), 15 U.S.C. § 1692, et seq., as plaintiff’s Complaint claims relief based on

 alleged practices in violation of federal law.



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       3.     Pursuant to 28 U.S.C. § 1446(b), JCAP has timely filed this Notice of

 Removal. JCAP was served with plaintiff’s Complaint on July 9, 2021. This Notice of

 Removal is filed within 30 days of receipt of the Complaint by JCAP.

       4.     Attached hereto as Exhibit A and incorporated by reference as part of the

 Notice of Removal are true and correct copies of the process and pleadings in the State

 Court Action. No further proceedings have taken place in the State Court Action.

       5.     A copy of this Notice of Removal is being served upon plaintiff and filed

 concurrently with the Seventeenth Judicial Circuit, in and for Broward County, Florida.

       WHEREFORE, Defendant, Jefferson Capital Systems, LLC, hereby removes to this

 Court the State Court Action.


 Dated: July 29, 2021


                                          Respectfully Submitted,

                                          /s/ Michael P. Schuette
                                          Michael P. Schuette, Esq.
                                          Florida Bar No. 0106181
                                          Dayle M. Van Hoose, Esq.
                                          Florida Bar No. 0016277
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                                          Jefferson Capital Systems, LLC




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 29th day of July 2021, a copy of the foregoing

 was filed electronically via CM/ECF system. Notice of this filing will be sent to the parties

 of record by operation of the Court’s electronic filing system, including plaintiff’s counsel

 as described below.

                                   Jibrael S. Hindi, Esq.
                                 Thomas J. Patti, III, Esq.
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                                           /s/ Michael P. Schuette
                                           Attorney




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